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                                          UNITED STATES BANKRUPTCY COURT
                                           CENTRAL DISTRICT OF CALIFORNIA
                                                LOS ANGELES DIVISION

       In re: FIERSTEIN, MICHAEL                            §      Case No. 2:15-bk-17348-BR
              FIERSTEIN, MARILYN                            §
                                                            §
                                                            §
                    Debtor(s)


                                CHAPTER 7 TRUSTEE’S FINAL ACCOUNT AND DISTRIBUTION
                                REPORT CERTIFICATION THAT THE ESTATE HAS BEEN FULLY
                                ADMINISTERED AND APPLICATION TO BE DISCHARGED (TDR)




               David M. Goodrich, chapter 7 trustee, submits this Final Account, Certification that the Estate has
      been Fully Administered and Application to be Discharged.

               1) All funds on hand have been distributed in accordance with the Trustee’s Final Report and, if
      applicable, any order of the Court modifying the Final Report. The case is fully administered and all assets and
      funds which have come under the trustee’s control in this case have been properly accounted for as provided
      by law. The trustee hereby requests to be discharged from further duties as a trustee.

               2) A summary of assets abandoned, assets exempt, total distributions to claimants, claims discharged
      without payment, and expenses of administration is provided below:



      Assets Abandoned:    $21,720.00                             Assets Exempt:      $3,720.00
      (without deducting any secured claims)

      Total Distributions to Claimants:   $37,188.06              Claims Discharged
                                                                  Without Payment:      $28,161.00


      Total Expenses of Administration:    $401,867.10




                3) Total gross receipts of $540,620.28 (see Exhibit 1), minus funds paid to the debtor and third
      parties of $101,565.12 (see Exhibit 2), yielded net receipts of $439,055.16 from the liquidation of the property
      of the estate, which was distributed as follows:




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                                               CLAIMS               CLAIMS                CLAIMS                CLAIMS
                                             SCHEDULED             ASSERTED              ALLOWED                 PAID


   SECURED CLAIMS (from
   Exhibit 3)                                     $19,000.00           $19,445.46                $0.00                 $0.00
   PRIORITY CLAIMS:
   CHAPTER 7 ADMIN. FEES AND
   CHARGES (from Exhibit 4)
                                                       $0.00          $401,867.10          $401,867.10          $401,867.10


   PRIOR CHAPTER ADMIN.
   FEES AND CHARGES (from
   Exhibit 5)                                          $0.00                $0.00                $0.00                 $0.00

   PRIORITY UNSECURED CLAIMS
   (from Exhibit 6)                                    $0.00                $0.00                $0.00                 $0.00

   GENERAL UNSECURED CLAIMS
   (from Exhibit 7)                               $64,826.00           $36,779.44           $37,188.06           $37,188.06


   TOTAL DISBURSEMENTS                            $83,826.00          $458,092.00          $439,055.16          $439,055.16




                 4) This case was originally filed under chapter 7 on 05/07/2015. The case was pending for 69
      months.

                 5) All estate bank statements, deposit slips, and canceled checks have been submitted to the United States
      Trustee.

               6) An individual estate property record and report showing the final accounting of the assets of the estate is
      attached as Exhibit 8. The cash receipts and disbursements records for each estate bank account, showing the final
      accounting of the receipts and disbursements of estate funds is attached as Exhibit 9.

               Pursuant to Fed R Bank P 5009, I hereby certify, under penalty of perjury, that the foregoing report is true
      and correct.




      Dated:        01/25/2021                        By: /s/ David M. Goodrich
                                                                          Trustee




      STATEMENT This Uniform Form is associated with an open bankruptcy case, therefore, Paperwork
      Reduction Act exemption 5 C.F.R. § 1320.4(a)(2) applies.




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                                                                    EXHIBITS TO
                                                                  FINAL ACCOUNT

EXHIBIT 1 – GROSS RECEIPTS

                                                                                              UNIFORM                           $ AMOUNT
     DESCRIPTION
                                                                                             TRAN. CODE1                        RECEIVED

 Claim against Fox Entertainment-                                                               1229-000                          $540,000.00

 Return of overpayment                                                                          1280-000                              $620.28

                             TOTAL GROSS RECEIPTS                                                                                 $540,620.28

 1
  The Uniform Transaction Code is an accounting code assigned by the trustee for statistical reporting purposes.




EXHIBIT 2 – FUNDS PAID TO DEBTOR & THIRD PARTIES

                                                                                                    UNIFORM                    $ AMOUNT
     PAYEE                                                  DESCRIPTION
                                                                                                   TRAN. CODE                     PAID

 FIERSTEIN, MICHAEL and                    Distribution payment - Dividend paid at                    8200-002                    $101,565.12
 FIERSTEIN, MARILYN                        100.00% of $101,565.12; Claim # SURPLUS;
                                           Filed: $0.00

 TOTAL FUNDS PAID TO DEBTOR
                                                                                                                                  $101,565.12
       & THIRD PARTIES




EXHIBIT 3 - SECURED CLAIMS



                                             UNIFORM              CLAIMS
     Claim                                                                                  CLAIMS                  CLAIMS          CLAIMS
                 CLAIMANT                     TRAN.             SCHEDULED
      NO.                                                                                  ASSERTED                ALLOWED           PAID
                                              CODE            (from Form 6D)


       9        American Honda                4210-000                $19,000.00             $19,445.46                $0.00            $0.00
                Finance Corporation

                   TOTAL SECURED                                      $19,000.00             $19,445.46                $0.00            $0.00




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EXHIBIT 4 – CHAPTER 7 ADMINISTRATIVE FEES and CHARGES


                                      UNIFORM      CLAIMS             CLAIMS             CLAIMS              CLAIMS
   PAYEE                               TRAN.     SCHEDULED           ASSERTED           ALLOWED               PAID
                                       CODE

 Trustee, Fees - David M. Goodrich    2100-000              NA         $25,202.76        $25,202.76         $25,202.76

 Trustee, Expenses - David M.         2200-000              NA               $54.12           $54.12              $54.12
 Goodrich
 Bond Payments - BOND                 2300-000              NA              $118.96          $118.96             $118.96

 Income Taxes - Internal Revenue      2810-000              NA             $5,974.00        $5,974.00        $5,974.00
 Service (post-petition) - United
 States Treasury
 Other State or Local Taxes (post-    2820-000              NA             $2,340.00        $2,340.00        $2,340.00
 petition) - Franchise Tax Board
 Attorney for Trustee Fees (Other     3210-000              NA         $29,620.50        $29,620.50         $29,620.50
 Firm) - Margulies Faith LLP
 Special Counsel for Trustee Fees -   3210-600              NA        $307,924.91       $307,924.91        $307,924.91
 Law Office of Larry Zerner and
 McPherson Rane, LLP
 Attorney for Trustee Expenses        3220-000              NA              $246.44          $246.44             $246.44
 (Other Firm) - Margulies Faith LLP
 Special Counsel for Trustee          3220-610              NA         $26,791.81        $26,791.81         $26,791.81
 Expenses - Law Office of Larry
 Zerner and McPherson Rane, LLP
 Accountant for Trustee Fees (Other   3410-000              NA             $3,192.00        $3,192.00        $3,192.00
 Firm) - Hahn, Fife & Company
 Accountant for Trustee Expenses      3420-000              NA              $401.60          $401.60             $401.60
 (Other Firm) - Hahn, Fife &
 Company
 TOTAL CHAPTER 7 ADMIN. FEES
                                                            NA        $401,867.10       $401,867.10        $401,867.10
        AND CHARGES




EXHIBIT 5 – PRIOR CHAPTER ADMINISTRATIVE FEES and CHARGES

                              UNIFORM          CLAIMS            CLAIMS            CLAIMS               CLAIMS
         PAYEE
                             TRAN. CODE      SCHEDULED          ASSERTED          ALLOWED                PAID

                                                         None




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 EXHIBIT 6 – PRIORITY UNSECURED CLAIMS


                                                                    CLAIMS
                                     UNIFORM       CLAIMS
 CLAIM                                                             ASSERTED        CLAIMS     CLAIMS
                   CLAIMANT           TRAN.     SCHEDULED
  NO.                                                           (from Proofs of   ALLOWED      PAID
                                      CODE     (from Form 6E)
                                                                     Claim)


                                                None




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 EXHIBIT 7 – GENERAL UNSECURED CLAIMS


                                                                       CLAIMS
                                      UNIFORM        CLAIMS
                                                                      ASSERTED         CLAIMS          CLAIMS
 CLAIM NO.        CLAIMANT             TRAN.      SCHEDULED
                                                                   (from Proofs of    ALLOWED           PAID
                                       CODE      (from Form 6F)
                                                                        Claim)

     1       Portfolio Recovery       7100-000         $4,848.00          $4,947.67     $4,947.67      $4,947.67
             Associates, LLC c/o Us
             Bank

     1I      Portfolio Recovery       7990-000               NA                 NA        $54.97            $54.97
             Associates, LLC c/o Us
             Bank

     2       Portfolio Recovery       7100-000         $6,768.00          $5,589.97     $5,589.97      $5,589.97
             Associates, LLC c/o Us
             Bank

     2I      Portfolio Recovery       7990-000               NA                 NA        $62.10            $62.10
             Associates, LLC c/o Us
             Bank

     3       Capital One Bank         7100-000         $3,632.00          $3,852.31     $3,852.31      $3,852.31
             (USA), N.A.

     3I      Capital One Bank         7990-000               NA                 NA        $42.80            $42.80
             (USA), N.A.

     4       Capital One Bank         7100-000               NA             $943.16      $943.16           $943.16
             (USA), N.A.

     4I      Capital One Bank         7990-000               NA                 NA        $10.48            $10.48
             (USA), N.A.

     5       Capital One Bank         7100-000           $485.00            $495.93      $495.93           $495.93
             (USA), N.A.

     5I      Capital One Bank         7990-000               NA                 NA         $5.51             $5.51
             (USA), N.A.

     6       Capital One Bank         7100-000           $567.00            $771.01      $771.01           $771.01
             (USA), N.A.

     6I      Capital One Bank         7990-000               NA                 NA         $8.57             $8.57
             (USA), N.A.

     7       Capital One Bank         7100-000         $7,546.00          $7,695.96     $7,695.96      $7,695.96
             (USA), N.A.

     7I      Capital One Bank         7990-000               NA                 NA        $85.50            $85.50
             (USA), N.A.




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     8       Capital One Bank         7100-000      $11,330.00    $11,584.29    $11,584.29      $11,584.29
             (USA), N.A.

     8I      Capital One Bank         7990-000             NA            NA       $128.70           $128.70
             (USA), N.A.

     10      Capital Recovery V,      7100-000             NA       $173.59       $173.59           $173.59
             LLC c/o Recovery
             Management Systems
             Corporat

     10I     Capital Recovery V,      7990-000             NA            NA          $1.93            $1.93
             LLC c/o Recovery
             Management Systems
             Corporat

     11      Capital Recovery V,      7100-000       $1,489.00      $725.55       $725.55           $725.55
             LLC c/o Recovery
             Management Systems
             Corporat

     11I     Capital Recovery V,      7990-000             NA            NA          $8.06            $8.06
             LLC c/o Recovery
             Management Systems
             Corporat

    N/F      AAA Financial Services   7100-000       $6,219.00           NA            NA               NA


    N/F      Cardmember               7100-000      $14,119.00           NA            NA               NA
             Service/Marriott
             Rewards

    N/F      Cardmember               7100-000        $682.00            NA            NA               NA
             Service/Southwest
             Airlines

    N/F      Charles C. Wood,         7100-000        $818.00            NA            NA               NA
             DDS. Inc.

    N/F      Chase                    7100-000        $225.00            NA            NA               NA


    N/F      Chase                    7100-000       $5,606.00           NA            NA               NA


    N/F      Nordstrom FSB            7100-000        $492.00            NA            NA               NA


             TOTAL GENERAL
            UNSECURED CLAIMS                        $64,826.00    $36,779.44    $37,188.06      $37,188.06




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                                                                                                                                                        Exhibit 8
                                         Individual Estate Property Record and Report                                                                   Page: 1

                                                          Asset Cases
Case No.: 2:15-bk-17348-BR                                                                    Trustee Name:      (001790) David M. Goodrich
Case Name:    FIERSTEIN, MICHAEL                                                              Date Filed (f) or Converted (c): 05/07/2015 (f)
              FIERSTEIN, MARILYN
                                                                                              § 341(a) Meeting Date:       06/12/2015
For Period Ending:        01/25/2021                                                          Claims Bar Date:      02/08/2016

                                    1                                 2                      3                      4                   5                    6

                           Asset Description                       Petition/         Estimated Net Value     Property Formally     Sale/Funds           Asset Fully
                (Scheduled And Unscheduled (u) Property)         Unscheduled        (Value Determined By        Abandoned        Received by the     Administered (FA)/
                                                                    Values                 Trustee,             OA=§554(a)           Estate           Gross Value of
                                                                                   Less Liens, Exemptions,       abandon.                            Remaining Assets
  Ref. #                                                                              and Other Costs)

    1       Checking Acct- BofA                                            20.00                      0.00                                    0.00                        FA

    2       Furniture and Applicances                                 2,600.00                        0.00                                    0.00                        FA

    3       Clothes                                                       500.00                      0.00                                    0.00                        FA

    4       Clothes                                                         0.00                      0.00                                    0.00                        FA

    5       Jewelry                                                       600.00                      0.00                                    0.00                        FA

    6       Claim against Fox Entertainment- (u)                    26,905.00                 540,000.00                             540,000.00                           FA
            Pending Action in Superior Court Case No SC123624

    7       2015 Honda Civic                                        18,000.00                         0.00         OA                         0.00                        FA

    8       Return of overpayment (u)                                       0.00                   620.28                                   620.28                        FA
            Return of overpayment


    8       Assets Totals (Excluding unknown values)               $48,625.00                $540,620.28                           $540,620.28                      $0.00




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                                   Individual Estate Property Record and Report                                                    Page: 2

                                                    Asset Cases
Case No.: 2:15-bk-17348-BR                                                     Trustee Name:      (001790) David M. Goodrich
Case Name:    FIERSTEIN, MICHAEL                                               Date Filed (f) or Converted (c): 05/07/2015 (f)
              FIERSTEIN, MARILYN
                                                                               § 341(a) Meeting Date:    06/12/2015
For Period Ending:   01/25/2021                                                Claims Bar Date:     02/08/2016



 Major Activities Affecting Case Closing:



                           Period ending December 31, 2020- The TDR has since been submitted.

                           Period ending December 31, 2019- All funds have been disbursed. The trustee has received the bank
                           statement showing a zero balance and submitted the TDR to the UST on November 18, 2019.

                           Period ending September 30, 2019- The final report hearing was held October 2, 2019 and the court
                           approved the final report. Once the court enters an order approving the final report, the trustee will distribute
                           funds and proceed to close the case.


                           Period ending June 30, 2019- All fee applications have been filed. The trustee submitted the final report on
                           June 27, 2019. The trustee is awaiting approval from the OUST to set the TFR for hearing.

                           Period ending March 31, 2019- All funds have been received pursuant to the settlement agreement.

                           Estate returns have been filed and estate taxes were due. The trustee filed a motion to approve the payment
                           of the estate's taxes [Dkt. 42] and [Dkt. 45]. Once the estate's taxes are paid and the IRS clearance letter is
                           received, the trustee will submit his final report.

                           The trustee does not anticipate amending the ETFR date.

                           Period ending December 31, 2018- The court approved the settlement agreement with Fox [Dkt. 34] and the
                           funds have been received. The trustee will proceed to close the case.

                           The trustee has reviewed the claims filed and objections to claims are not required.

                           The trustee recently employed an accountant to prepare the estate's final returns.

                           The trustee does not anticipate amending the ETFR date.

                           Period ending September 30, 2018- The trustee was able to reach an agreement with Fox to settle the
                           estate's claims against Fox. A motion to approve the settlement was filed with the court on October 4, 2018
                           [Dkt. 30]. Pursuant to the settlement agreement, the estate will receive $540,000.00.

                           Once the funds are received, the trustee will review claims to determine if objections to claims are required.

                           Once all the funds are received, the trustee's accountant will prepare estate returns.

                           The EFTR date has been amended to allow sufficient time to receive the settlement funds, review claims,
                           prepare the estate's final returns, and receive the tax clearance letter.


                           Period ending June 30, 2018- The appeal was affirmed in favor of the debtor on April 3, 2018. The trustee
                           and Fox have exchanged several settlement offers and it appears a settlement is imminent. If a settlement
                           can not be reached, the matter will be re-tried by the superior court.

                           Claims have not been reviewed at this time. Should funds become available, the trustee will review claims to
                           determine if objections are necessary.

                           Estate returns have not been completed. Should funds become available, the trustee will forward the file to an
                           accountant to determine if estate returns are required.

                           Period ending March 31, 2018- The briefing on Fox's motion to dismiss the Trustee's appeal of the state court
                           breach of contract juddgment was completed on April 2017. Fox's motion to dismiss was denied. The parties
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                                   Individual Estate Property Record and Report                                                    Page: 3

                                                    Asset Cases
Case No.: 2:15-bk-17348-BR                                                   Trustee Name:      (001790) David M. Goodrich
Case Name:    FIERSTEIN, MICHAEL                                             Date Filed (f) or Converted (c): 05/07/2015 (f)
              FIERSTEIN, MARILYN
                                                                             § 341(a) Meeting Date:     06/12/2015
For Period Ending:    01/25/2021                                             Claims Bar Date:      02/08/2016

                           briefed the appeal on March 22, 2018 the Applellate Court held oral agruments. A ruling on the appeal is
                           expected.

                           Period endind December 31, 2017- The trustee continues to pursue the righs of the estate against Fox. The
                           trustee and Fox have exchanged settlement proposals. If a settlement is not reached, the trustee and Fox
                           will return to trial (a new trial was ordered).

                           Claims have not been reviewed at this time. Should funds become available, the trustee will review claims to
                           determine if objections are necessary.

                           Estate returns have not been completed. Should funds become available, the trustee will forward the file to an
                           accountant to determine if estate returns are required.

                           The trustee expected to submit the final report by January 31, 2018. Because the litigation has not
                           completed, the TFR will not be filed by the expected deadline. The trustee expects to submit the final report
                           by December 31, 2018.


                           Period ending December 31, 2016- The trustee continues to pursue the rights of the estate against Fox. Fox
                           filed a motion for summary judgment which was denied. Trial began November 28, 2016 and the jury
                           reached a verdict in favor of the estate on December 8, 2016. Due to some confusion by the jurors, the
                           verdict was erroneously entered in favor of Fox. On December 22, 2016, the estate's special litigation
                           counsel filed a motion to vacate the verdict. A hearing is set for January 9, 2017.

                           The claims register has not been reviewed at this time. Should funds become available, the trustee will
                           review the claims register to determine if objections to claims are required.

                           Estate returns have not been completed. Should funds become available, the trustee will forward the file to an
                           accountant to determine if estate returns are required.

                           The trustee expected to submit the final report by December 31, 2016. Because the litigation has not
                           completed, the TFR will not be filed by the expected deadline. The trustee expects to submit the final report
                           by May 31, 2017.

                           Period ending September 30, 2016- Counsel for the trustee will be amending the complaint to add the trustee
                           as the plaintiff. The trustee continues to monitor the proceeding and receive updates as to the status of the
                           case. The defendants have stated they will file a motion for summary judgment which will be filed on July
                           14, 2016 with hearing scheduled for September 27, 2016.


                           Period ending December 31, 2015- Mr. Fierstein is a plaintiff in a lawsuit pending in the Superior Court of
                           Los Angeles, bearing the case number SC123624. The trustee believes that the amount the debtor
                           scheduled on his amended schedules in regard to the claim is significantly low. The trustee filed an
                           application to employ The Law Office of Larry Zerner and McPherson Rane, LLP to represent him as special
                           counsel. Special counsel will continue with the litigation on behalf of the estate.

                           Should funds become available, the trustee will have his accountant review the file to determine if estate
                           returns are required.

                           The trustee anticipates filing the final report by December 31, 2016.
 Initial Projected Date Of Final Report (TFR): 12/31/2016            Current Projected Date Of Final Report (TFR):    09/25/2019 (Actual)




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                                                                                                                                                          Page: 1
                                                Cash Receipts And Disbursements Record
Case No.:              2:15-bk-17348-BR                                  Trustee Name:                        David M. Goodrich (001790)
Case Name:             FIERSTEIN, MICHAEL                                Bank Name:                           Mechanics Bank
                       FIERSTEIN, MARILYN                                Account #:                           ******3400 Checking
Taxpayer ID #:         **-***7022                                        Blanket Bond (per case limit):       $5,000,000.00
For Period Ending:     01/25/2021                                        Separate Bond (if applicable):       N/A

    1            2                      3                                         4                                  5                     6                          7

  Trans.    Check or       Paid To / Received From          Description of Transaction          Uniform         Deposit              Disbursement           Account Balance
   Date      Ref. #                                                                            Tran. Code         $                        $

 11/14/18     {6}      Fox Group                        Payment per settlement                  1229-000            540,000.00                                        540,000.00
 11/19/18     101      Law Office of Larry Zerner and   EOD 10/31/2018- Special Counsel         3210-600                                  307,924.91                  232,075.09
                       McPherson Rane, LLP              Fee
 11/19/18     102      Law Office of Larry Zerner and   EOD 10/31/2018- Special Counsel         3220-610                                   26,791.81                  205,283.28
                       McPherson Rane, LLP              Expenses
 11/27/18     103      International Sureties           Bond No. 016030866                      2300-004                                           3.57               205,279.71
                                                        Voided on 11/27/2018
 11/27/18     103      International Sureties           Bond No. 016030866                      2300-004                                          -3.57               205,283.28
                                                        Voided: check issued on
                                                        11/27/2018
 11/27/18     104      International Sureties           Bond No. 016030866                      2300-000                                           3.57               205,279.71
 12/11/18     {8}      McPherson Rane LLP               return of overpayment                   1280-000                 620.28                                       205,899.99
 03/19/19     105      International Sureties           Bond No. 016030866                      2300-000                                        115.39                205,784.60
 04/10/19     106      United States Treasury           EOD 4/4/19- Taxes Due EIN 30-           2810-000                                       2,987.00               202,797.60
                                                        6627022
 04/10/19     107      United States Treasury           EOD 4/4/19- Taxes Due EIN 30-           2810-000                                       2,987.00               199,810.60
                                                        6627022
 04/10/19     108      Franchise Tax Board              EOD 4/4/19- Taxes Due EIN 30-           2820-000                                       1,170.00               198,640.60
                                                        6627022
 04/10/19     109      Franchise Tax Board              EOD 4/4/19- Taxes Due EIN 30-           2820-000                                       1,170.00               197,470.60
                                                        6627022
 10/15/19     110      David M. Goodrich                Combined trustee compensation &                                                    25,256.88                  172,213.72
                                                        expense dividend payments.
                       David M. Goodrich                Claims Distribution - Tue, 10-15-       2100-000
                                                        2019
                                                                                 $25,202.76
                       David M. Goodrich                Claims Distribution - Tue, 10-15-       2200-000
                                                        2019
                                                                                      $54.12
 10/15/19     111      Margulies Faith LLP              Distribution payment - Dividend         3210-000                                   29,620.50                  142,593.22
                                                        paid at 100.00% of $29,620.50;
                                                        Claim # ; Filed: $29,620.50
 10/15/19     112      Margulies Faith LLP              Distribution payment - Dividend         3220-000                                        246.44                142,346.78
                                                        paid at 100.00% of $246.44; Claim
                                                        # ; Filed: $246.44
 10/15/19     113      Hahn, Fife & Company             Distribution payment - Dividend         3420-000                                        401.60                141,945.18
                                                        paid at 100.00% of $401.60; Claim
                                                        # ; Filed: $401.60
 10/15/19     114      Hahn, Fife & Company             Distribution payment - Dividend         3410-000                                       3,192.00               138,753.18
                                                        paid at 100.00% of $3,192.00;
                                                        Claim # ; Filed: $3,192.00
 10/15/19     115      Portfolio Recovery Associates,   Distribution payment - Dividend         7100-000                                       4,947.67               133,805.51
                       LLC c/o Us Bank                  paid at 100.00% of $4,947.67;
                                                        Claim # 1; Filed: $4,947.67
 10/15/19     116      Portfolio Recovery Associates,   Distribution payment - Dividend         7990-000                                         54.97                133,750.54
                       LLC c/o Us Bank                  paid at 100.00% of $54.97; Claim
                                                        # 1I; Filed: $54.97
 10/15/19     117      Portfolio Recovery Associates,   Distribution payment - Dividend         7100-000                                       5,589.97               128,160.57
                       LLC c/o Us Bank                  paid at 100.00% of $5,589.97;
                                                        Claim # 2; Filed: $5,589.97
 10/15/19     118      Portfolio Recovery Associates,   Distribution payment - Dividend         7990-000                                         62.10                128,098.47
                       LLC c/o Us Bank                  paid at 100.00% of $62.10; Claim
                                                        # 2I; Filed: $62.10




                                                                                            Page Subtotals:    $540,620.28             $412,521.81


{ } Asset Reference(s)        UST Form 101-7-TDR ( 10 /1/2010)                                                                    ! - transaction has not been cleared
                 Case 2:15-bk-17348-BR                    Doc 60 Filed 01/25/21 Entered 01/25/21 14:11:07                                             Desc
                                                          Main Document    Page 12 of 13
                                                               Form 2                                                                               Exhibit 9
                                                                                                                                                    Page: 2
                                               Cash Receipts And Disbursements Record
Case No.:              2:15-bk-17348-BR                                 Trustee Name:                    David M. Goodrich (001790)
Case Name:             FIERSTEIN, MICHAEL                               Bank Name:                       Mechanics Bank
                       FIERSTEIN, MARILYN                               Account #:                       ******3400 Checking
Taxpayer ID #:         **-***7022                                       Blanket Bond (per case limit):   $5,000,000.00
For Period Ending:     01/25/2021                                       Separate Bond (if applicable):   N/A

    1            2                    3                                         4                              5                     6                          7

  Trans.    Check or       Paid To / Received From          Description of Transaction       Uniform       Deposit             Disbursement           Account Balance
   Date      Ref. #                                                                         Tran. Code       $                       $

 10/15/19     119      Capital One Bank (USA), N.A.     Distribution payment - Dividend     7100-000                                     3,852.31               124,246.16
                                                        paid at 100.00% of $3,852.31;
                                                        Claim # 3; Filed: $3,852.31
 10/15/19     120      Capital One Bank (USA), N.A.     Distribution payment - Dividend     7990-000                                       42.80                124,203.36
                                                        paid at 100.00% of $42.80; Claim
                                                        # 3I; Filed: $42.80
 10/15/19     121      Capital One Bank (USA), N.A.     Distribution payment - Dividend     7100-000                                      943.16                123,260.20
                                                        paid at 100.00% of $943.16; Claim
                                                        # 4; Filed: $943.16
 10/15/19     122      Capital One Bank (USA), N.A.     Distribution payment - Dividend     7990-000                                       10.48                123,249.72
                                                        paid at 100.00% of $10.48; Claim
                                                        # 4I; Filed: $10.48
 10/15/19     123      Capital One Bank (USA), N.A.     Distribution payment - Dividend     7100-000                                      495.93                122,753.79
                                                        paid at 100.00% of $495.93; Claim
                                                        # 5; Filed: $495.93
 10/15/19     124      Capital One Bank (USA), N.A.     Distribution payment - Dividend     7990-000                                         5.51               122,748.28
                                                        paid at 100.00% of $5.51; Claim #
                                                        5I; Filed: $5.51
 10/15/19     125      Capital One Bank (USA), N.A.     Distribution payment - Dividend     7100-000                                      771.01                121,977.27
                                                        paid at 100.00% of $771.01; Claim
                                                        # 6; Filed: $771.01
 10/15/19     126      Capital One Bank (USA), N.A.     Distribution payment - Dividend     7990-000                                         8.57               121,968.70
                                                        paid at 100.00% of $8.57; Claim #
                                                        6I; Filed: $8.57
 10/15/19     127      Capital One Bank (USA), N.A.     Distribution payment - Dividend     7100-000                                     7,695.96               114,272.74
                                                        paid at 100.00% of $7,695.96;
                                                        Claim # 7; Filed: $7,695.96
 10/15/19     128      Capital One Bank (USA), N.A.     Distribution payment - Dividend     7990-000                                       85.50                114,187.24
                                                        paid at 100.00% of $85.50; Claim
                                                        # 7I; Filed: $85.50
 10/15/19     129      Capital One Bank (USA), N.A.     Distribution payment - Dividend     7100-000                                 11,584.29                  102,602.95
                                                        paid at 100.00% of $11,584.29;
                                                        Claim # 8; Filed: $11,584.29
 10/15/19     130      Capital One Bank (USA), N.A.     Distribution payment - Dividend     7990-000                                      128.70                102,474.25
                                                        paid at 100.00% of $128.70; Claim
                                                        # 8I; Filed: $128.70
 10/15/19     131      Capital Recovery V, LLC c/o      Distribution payment - Dividend     7100-000                                      173.59                102,300.66
                       Recovery Management Systems      paid at 100.00% of $173.59; Claim
                       Corporat                         # 10; Filed: $173.59
 10/15/19     132      Capital Recovery V, LLC c/o      Distribution payment - Dividend     7990-000                                         1.93               102,298.73
                       Recovery Management Systems      paid at 100.00% of $1.93; Claim #
                       Corporat                         10I; Filed: $1.93
 10/15/19     133      Capital Recovery V, LLC c/o      Distribution payment - Dividend     7100-000                                      725.55                101,573.18
                       Recovery Management Systems      paid at 100.00% of $725.55; Claim
                       Corporat                         # 11; Filed: $725.55
 10/15/19     134      Capital Recovery V, LLC c/o      Distribution payment - Dividend     7990-000                                         8.06               101,565.12
                       Recovery Management Systems      paid at 100.00% of $8.06; Claim #
                       Corporat                         11I; Filed: $8.06
 10/15/19     135      FIERSTEIN, MICHAEL and           Distribution payment - Dividend     8200-002                                101,565.12                        0.00
                       FIERSTEIN, MARILYN               paid at 100.00% of $101,565.12;
                                                        Claim # SURPLUS; Filed: $0.00

                                          COLUMN TOTALS                                                        540,620.28           540,620.28                       $0.00
                                                 Less: Bank Transfers/CDs                                            0.00                    0.00
                                          Subtotal                                                             540,620.28           540,620.28
                                                 Less: Payments to Debtors                                                          101,565.12

                                          NET Receipts / Disbursements                                      $540,620.28            $439,055.16




{ } Asset Reference(s)       UST Form 101-7-TDR ( 10 /1/2010)                                                               ! - transaction has not been cleared
                 Case 2:15-bk-17348-BR                 Doc 60 Filed 01/25/21 Entered 01/25/21 14:11:07                            Desc
                                                       Main Document    Page 13 of 13
                                                       Form 2                                                                   Exhibit 9
                                                                                                                                Page: 3
                                       Cash Receipts And Disbursements Record
Case No.:           2:15-bk-17348-BR                          Trustee Name:                   David M. Goodrich (001790)
                    FIERSTEIN, MICHAEL
Case Name:                                                    Bank Name:                      Mechanics Bank
                    FIERSTEIN, MARILYN
                                                              Account #:                      ******3400 Checking
Taxpayer ID #:      **-***7022
                                                              Blanket Bond (per case limit): $5,000,000.00
For Period Ending: 01/25/2021
                                                              Separate Bond (if applicable): N/A




                                                                                                 NET                       ACCOUNT
                                 TOTAL - ALL ACCOUNTS                      NET DEPOSITS     DISBURSEMENTS                  BALANCES
                                 ******3400 Checking                            $540,620.28        $439,055.16                     $0.00

                                                                                $540,620.28             $439,055.16                 $0.00




UST Form 101-7-TDR (10 /1/2010)
